                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


NATIONAL ASSOCIATION FOR THE                )
ADVANCEMENT OF COLORED PEOPLE,              )            ORDER APPOINTING MEDIATOR
et al.                                      )
                                            )
      vs.                                   )
                                            )
JERRY PETERMAN, et al.                      )                      1:20CV613



      It appearing to the Court that counsel for the parties have selected THOMAS C.

DUNCAN, Esquire, by agreement, as their mediator;

      IT IS ORDERED, pursuant to Local Rule 83.9d(a), that THOMAS C. DUNCAN, is

appointed mediator in the above-entitled action.

      IT IS FURTHER ORDERED, pursuant to Local Rule 83.9e(b), that the mediator

shall confer with the parties regarding scheduling of the mediated settlement

conference, determine the place and time of the conference, and give notice to the

parties.

      FURTHER, when the mediated settlement conference is completed, the mediator

shall submit the Report of Mediator to the Clerk, pursuant to Local Rule 83.9f.

      Let copies of this order be sent to counsel for the parties and to the mediator.

      This, the 10th day of December, 2020.



                                                /s/ John S. Brubaker
                                                John S. Brubaker
                                                Clerk, U. S. District Court




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